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Attorneys for Defendants Mary Ruyan, LLC
d/b/a CoGo Inc., Mary Allison Ruyan, Diva International Inc.
                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
ENG SALES LLC,                                  :   Document Filed Electronically
                                                :
                Plaintiff,                      :   Civil Action No. 19-17482-SRC-CLW
        v.                                      :
                                                :
MARY RUYAN, LLC d/b/a COGO INC.;                :   Stanley R. Chesler, U.S.D.J.
MARY ALLISON RUYAN; DIVA                        :   Cathy L. Waldor, U.S.M.J.
INTERNATIONAL INC.; JOHN DOES 1-10,             :
                                                :
                Defendants.                     x   JURY TRIAL DEMANDED
                                                :
DIVA INTERNATIONAL INC.,                        :
                                                :
                Counterclaim Plaintiff,         :
        v.                                      :
                                                :
ENG SALES LLC; ENG SALES LLC d/b/a              :
STAM SALES; ELIEZER ZIMMERMAN;                  :
GITEL ZIMMERMAN.                                :
                                                :
                Counterclaim Defendants.        x

                              ANSWER AND COUNTERCLAIM
        Defendants Mary Ruyan, LLC d/b/a CoGo Inc. (“CoGo”), Mary Allison Ruyan

(“Ruyan”), and Diva International Inc. (“Diva”) (collectively “Defendants”), hereby answer and

counterclaim in response to the complaint of Plaintiff ENG Sales LLC (“ENG Sales” or

“Plaintiff”), as follows:
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                                            PARTIES
         1.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 1 of the complaint, and therefore deny same.

         2.      Defendants admit that CoGo is a corporation organized and existing under the

laws of the State of Illinois, with a principal place of business at 1011 North Wolcott Avenue

2N, Chicago, Illinois 60622.

         3.      Defendants deny the allegations of paragraph 3 of the complaint.

         4.      Defendants admit that Ruyan is the managing member of CoGo.

         5.      Defendants admit that Diva is a corporation organized and existing under the laws

of Ontario, Canada, with a principal place of business at 222 McIntyre Drive, Kitchener, Ontario,

Canada N2R 1E8.

         6.      Defendants admit that Diva and CoGo have a business relationship such that

CoGo provides e-commerce consultancy services for Diva.

         7.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 7 of the complaint, and therefore deny same.

                                 JURISDICTION AND VENUE
         8.      Defendants admit that the Court has subject matter jurisdiction over this action

pursuant to the Federal Declaratory Judgments Act, 28 U.S.C. §§ 2201 and 2202; the Trademark

Act of 1946, as amended, 15 U.S.C. § 1051 et seq., including 15 U.S.C. § 1121; and 28 U.S.C.

§§ 1331, 1338, and 1367).

         9.      Defendants deny the allegations of paragraph 9 of the complaint.

         10.     Defendants deny the allegations of paragraph 10 of the complaint.

         11.     Defendants deny the allegations of paragraph 11 of the complaint.

         12.     Defendants deny the allegations of paragraph 12 of the complaint.


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         13.     Defendants deny the allegations of paragraph 13 of the complaint.

         14.     Defendants deny the allegations of paragraph 14 of the complaint.

         15.     Defendants admit that venue is proper with respect to Defendant Diva under 28

U.S.C. § 1391(c).

                                    BACKGROUND FACTS
         16.     Defendants admit that Diva is in the business of manufacturing and distributing

certain feminine hygiene products, including products sold under the DivaCup mark (“DivaCup

Products”).

         17.     Defendants admit that Diva is the registrant of U.S. Trademark Serial

No. 86/454,785 for THE DIVACUP (“the DIVACUP Registration”).

         18.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 18 of the complaint, and therefore deny same.

         19.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 19 of the complaint, and therefore deny same.

         20.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 20 of the complaint, and therefore deny same.

         21.     Defendants deny the allegations of paragraph 21 of the complaint.

                                  ONLINE MARKETPLACES
         22.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 22 of the complaint, and therefore deny same.

         23.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 23 of the complaint, and therefore deny same.

         24.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 24 of the complaint, and therefore deny same.


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         25.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 25 of the complaint, and therefore deny same.

         26.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 26 of the complaint, and therefore deny same.

         27.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 27 of the complaint, and therefore deny same.

         28.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 28 of the complaint, and therefore deny same.

         29.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 29 of the complaint, and therefore deny same.

         30.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 30 of the complaint, and therefore deny same.

         31.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 31 of the complaint, and therefore deny same.

         32.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 32 of the complaint, and therefore deny same.

         33.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 33 of the complaint, and therefore deny same.

         34.     Defendants deny the allegations of paragraph 34 of the complaint.

         35.     Defendants deny the allegations of paragraph 35 of the complaint.

         36.     Defendants deny the allegations of paragraph 36 of the complaint.

         37.     Defendants deny the allegations of paragraph 37 of the complaint.

         38.     Defendants deny the allegations of paragraph 38 of the complaint.



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         39.     Defendants deny the allegations of paragraph 39 of the complaint.

         40.     Defendants admit that under the first sale doctrine sellers are lawfully permitted to

resell authentic DivaCup Products.

         41.     Defendants admit that the first sale doctrine provides that, once a manufacturer

places a product in the stream of commerce through its first sale, it can no longer enforce its

intellectual property rights with regard to resellers, so long as the resellers are selling authentic,

unaltered products.

         42.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 42 of the complaint, and therefore deny same.

         43.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 43 of the complaint, and therefore deny same.

         44.     Defendants deny the allegations of paragraph 44 of the complaint.

         45.     Defendants deny the allegations of paragraph 45 of the complaint.

         46.     Defendants admit that the Lanham Act defines a “counterfeit” as “a spurious mark

which is identical with, or substantially indistinguishable from, a registered mark.” 15 U.S.C.

§ 1127.

         47.     Defendants deny the allegations of paragraph 47 of the complaint.

         48.     Defendants deny the allegations of paragraph 48 of the complaint.

         49.     Defendants admit that each complaint submitted to Amazon was signed under

penalty of perjury by an employee or agent of Defendants.

         50.     Defendants admit that the statements are accurately reproduced in the complaint,

and otherwise deny the allegations of paragraph 50 of the complaint.




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         51.     Defendants admit that one or more complaints concerning DivaCup Products

were submitted and signed under penalty of perjury by Ruyan.

         52.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 52 of the complaint, and therefore deny same.

         53.     Defendants admit to the extent that the Amazon Standard Identification Numbers

(“ASIN”) references the DivaCup Model 1 product. Defendants deny the remaining allegations

of paragraph 53 of the complaint.

         54.     Defendants deny the allegations of paragraph 54 of the complaint.

         55.     Defendants deny the allegations of paragraph 55 of the complaint.

         56.     Defendants deny the allegations of paragraph 56 of the complaint.

         57.     Defendants deny the allegations of paragraph 57 of the complaint.

         58.     Defendants deny the allegations of paragraph 58 of the complaint.

         59.     Defendants deny the allegations of paragraph 59 of the complaint.

         60.     Defendants admit the allegations of paragraph 60 to the extent that Defendants

were subsequently provided with photographs purporting to be Stam Sales’ inventory of

DivaCup Products. Defendants deny the remaining allegations of paragraph 60 of the complaint.

         61.     Defendants admit to the extent that Defendants notified Amazon to retract the

complaint. Defendants deny the remaining allegations of paragraph 61 of the complaint.

         62.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 62 of the complaint, and therefore deny same.

         63.     Defendants deny the allegations of paragraph 63 of the complaint.

         64.     Defendants deny the allegations of paragraph 64 of the complaint.

         65.     Defendants deny the allegations of paragraph 65 of the complaint.



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         66.     Defendants deny the allegations of paragraph 66 of the complaint.

         67.     Defendants deny the allegations of paragraph 67 of the complaint.

         68.     Defendants deny the allegations of paragraph 68 of the complaint.

         69.     Defendants deny the allegations of paragraph 69 of the complaint.

         70.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 70 of the complaint, and therefore deny same.

         71.     Defendants deny the allegations of paragraph 71 of the complaint.

         72.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 72 of the complaint, and therefore deny same.

         73.     Defendants admit to the extent that Defendants reported to Amazon sales of

counterfeit DivaCup Products. Defendants deny the remaining allegations of paragraph 73 of the

complaint.

         74.     Defendants deny the allegations of paragraph 74 of the complaint.

         75.     Defendants deny the allegations of paragraph 75 of the complaint.

         76.     Defendants deny the allegations of paragraph 76 of the complaint.

         77.     Defendants deny the allegations of paragraph 77 of the complaint.

         78.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 78 of the complaint, and therefore deny same.

         79.     Defendants admit to the extent that Defendants reported to Amazon sales of

counterfeit DivaCup Products. Defendants deny the remaining allegations of paragraph 79 of the

complaint.

         80.     Defendants deny the allegations of paragraph 80 of the complaint.

         81.     Defendants deny the allegations of paragraph 81 of the complaint.



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         82.     Defendants deny the allegations of paragraph 82 of the complaint.

         83.     Defendants deny the allegations of paragraph 83 of the complaint.

         84.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 84 of the complaint, and therefore deny same.

         85.     Defendants deny the allegations of paragraph 85 of the complaint.

         86.     Defendants deny the allegations of paragraph 86 of the complaint.

         87.     Defendants deny the allegations of paragraph 87 of the complaint.

         88.     Defendants deny the allegations of paragraph 88 of the complaint.

         89.     Defendants deny the allegations of paragraph 89 of the complaint.

         90.     Defendants deny the allegations of paragraph 90 of the complaint.

         91.     Defendants admit that Amazon allows customers to leave reviewers for sellers

after completing a purchase, and otherwise deny the remaining allegations of paragraph 91 of the

complaint.

         92.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 92 of the complaint, and therefore deny same.

         93.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 93 of the complaint, and therefore deny same.

         94.     Defendants admit that on or about July 21, 2019, Ruyan placed an order (Order:

112-0584044-4119421) on Amazon for ASIN B07N2H9FK9 (DivaCup Model 2).

         95.     Defendants admit that the item was purchased under the name “Mary Ryan” and

shipped to 1011 North Wolcott Avenue, Unit #2N, Chicago, Illinois 60622.




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         96.     Defendants admit to the extent that the quoted statements are accurately

reproduced in the complaint, and otherwise deny the allegations of paragraph 96 of the

complaint.

         97.     Defendants deny the allegations of paragraph 97 of the complaint.

         98.     Defendants deny the allegations of paragraph 98 of the complaint.

         99.     Defendants deny the allegations of paragraph 99 of the complaint.

         100.    Defendants admit that on or about July 23, 2019, Ruyan placed an order (Order:

114-3794754-9185822) on Amazon for ASIN B07SPM3RZM (DivaCup Model 1).

         101.    Defendants admit that the item was purchased under the name “Mary OBrian”

and shipped to 1011 North Wolcott Avenue, Unit #2N, Chicago, Illinois 60622.

         102.    Defendants admit to the extent that the quoted statements are accurately

reproduced in the complaint, and otherwise deny the allegations of paragraph 102 of the

complaint.

         103.    Defendants deny the allegations of paragraph 103 of the complaint.

         104.    Defendants deny the allegations of paragraph 104 of the complaint.

         105.    Defendants deny the allegations of paragraph 105 of the complaint.

         106.    Defendants deny the allegations of paragraph 106 of the complaint.

         107.    Defendants deny the allegations of paragraph 107 of the complaint.

         108.    Defendants deny the allegations of paragraph 108 of the complaint.

         109.    Defendants deny the allegations of paragraph 109 of the complaint.

         110.    Defendants deny the allegations of paragraph 110 of the complaint.

         111.    Defendants deny the allegations of paragraph 111 of the complaint.

         112.    Defendants deny the allegations of paragraph 112 of the complaint.



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          113.    Defendants deny the allegations of paragraph 113 of the complaint.

          114.    Defendants deny the allegations of paragraph 114 of the complaint.

          115.    Defendants deny the allegations of paragraph 115 of the complaint.

          116.    Defendants deny the allegations of paragraph 116 of the complaint.

          117.    Defendants deny the allegations of paragraph 117 of the complaint.

          118.    Defendants deny the allegations of paragraph 118 of the complaint.

          119.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations of paragraph 119 of the complaint, and therefore deny same.

          120.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations of paragraph 120 of the complaint, and therefore deny same.

          121.    Defendants deny the allegations of paragraph 121 of the complaint.

                           COUNT I – DECLARATORY JUDGMENT
                         (No Trademark Infringement or Counterfeiting)
          122.    Defendants incorporate answers to all previous paragraphs in response to

 paragraph 122 of the complaint.

          123.    Defendants admit that Diva manufactures DivaCup Products and places such

 products in the stream of commerce.

          124.    Defendants deny the allegations of paragraph 124 of the complaint.

          125.    Defendants admit to the extent that Defendants have submitted one or more

 complaints to Amazon regarding listings of counterfeit DivaCup Products that infringed the

 DIVACUP Registration. Defendants deny the remaining allegations of paragraph 125 of the

 complaint.

          126.    Defendants deny the allegations of paragraph 126 of the complaint.

          127.    Defendants deny the allegations of paragraph 127 of the complaint.


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          128.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations of paragraph 128 of the complaint, and therefore deny same.

          129.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations of paragraph 129 of the complaint, and therefore deny same.

          130.    Defendants admit to the extent that Defendants have published statements on the

 Amazon platform regarding sales of “counterfeit” and “fake” DivaCup Products. Defendants

 deny the remaining allegations of paragraph 130 of the complaint.

          131.    Defendants admit to the extent that an actual controversy exist between Plaintiff

 and Defendants. Defendants deny the remaining allegations of paragraph 131 of the complaint.

          132.    Defendants deny the allegations of paragraph 132 of the complaint.

          133.    Defendants deny the allegations of paragraph 133 of the complaint.

                         COUNT II – TORTIOUS INTERFERENCE
                       WITH CONTRACT AND BUSINESS RELATIONS
          134.    Defendants incorporate answers to all previous paragraphs in response to

 paragraph 134 of the complaint.

          135.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations of paragraph 135 of the complaint, and therefore deny same.

          136.    Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations of paragraph 136 of the complaint, and therefore deny same.

          137.    Defendants deny the allegations of paragraph 137 of the complaint.

          138.    Defendants deny the allegations of paragraph 138 of the complaint.

          139.    Defendants deny the allegations of paragraph 139 of the complaint.

          140.    Defendants deny the allegations of paragraph 140 of the complaint.

          141.    Defendants deny the allegations of paragraph 141 of the complaint.


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          142.    Defendants deny the allegations of paragraph 142 of the complaint.

          143.    Defendants deny the allegations of paragraph 143 of the complaint.

          144.    Defendants deny the allegations of paragraph 144 of the complaint.

          145.    Defendants deny the allegations of paragraph 145 of the complaint.

          146.    Defendants deny the allegations of paragraph 146 of the complaint.

          147.    Defendants deny the allegations of paragraph 147 of the complaint.

          148.    Defendants deny the allegations of paragraph 148 of the complaint.

          149.    Defendants deny the allegations of paragraph 149 of the complaint.

          150.    Defendants deny the allegations of paragraph 150 of the complaint.

                                   COUNT III – DEFAMATION
          151.    Defendants incorporate answers to all previous paragraphs in response to

 paragraph 151 of the complaint.

          152.    Defendants deny the allegations of paragraph 152 of the complaint.

          153.    Defendants deny the allegations of paragraph 153 of the complaint.

          154.    Defendants deny the allegations of paragraph 154 of the complaint.

          155.    Defendants deny the allegations of paragraph 155 of the complaint.

          156.    Defendants deny the allegations of paragraph 156 of the complaint.

          157.    Defendants deny the allegations of paragraph 157 of the complaint.

          158.    Defendants deny the allegations of paragraph 158 of the complaint.

          159.    Defendants deny the allegations of paragraph 159 of the complaint.

          160.    Defendants deny the allegations of paragraph 160 of the complaint.

          161.    Defendants deny the allegations of paragraph 161 of the complaint.

          162.    Defendants deny the allegations of paragraph 162 of the complaint.

          163.    Defendants deny the allegations of paragraph 163 of the complaint.

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          164.    Defendants deny the allegations of paragraph 164 of the complaint.

          165.    Defendants deny the allegations of paragraph 165 of the complaint.

          166.    Defendants deny the allegations of paragraph 166 of the complaint.

                                   COUNT IV – TRADE LIBEL
          167.    Defendants incorporate answers to all previous paragraphs in response to

 paragraph 167 of the complaint.

          168.    Defendants deny the allegations of paragraph 168 of the complaint.

          169.    Defendants deny the allegations of paragraph 169 of the complaint.

          170.    Defendants deny the allegations of paragraph 170 of the complaint.

          171.    Defendants deny the allegations of paragraph 171 of the complaint.

          172.    Defendants deny the allegations of paragraph 172 of the complaint.

          173.    Defendants deny the allegations of paragraph 173 of the complaint.

          174.    Defendants deny the allegations of paragraph 174 of the complaint.

          175.    Defendants deny the allegations of paragraph 175 of the complaint.

          176.    Defendants deny the allegations of paragraph 176 of the complaint.

          177.    Defendants deny the allegations of paragraph 177 of the complaint.

          178.    Defendants deny the allegations of paragraph 178 of the complaint.

                                      PRAYER FOR RELIEF
          179.    Defendants deny that Plaintiff is entitled to any judgment or relief against

 Defendants and, therefore, specifically deny paragraphs A-H of Plaintiff’s Prayer For Relief.

                                   AFFIRMATIVE DEFENSES

                                FIRST AFFIRMATIVE DEFENSE
                                         Defamation
          180.    Defendants’ statements to Amazon are true, and therefore cannot constitute

 defamation.

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                               SECOND AFFIRMATIVE DEFENSE
                                        Trade Libel
          181.    Defendants’ statements to Amazon are true, and therefore cannot constitute trade

 libel.

                              THIRD AFFIRMATIVE DEFENSE
                  Failure To State A Claim Upon Which Relief Can Be Granted
          182.    The complaint fails to state a claim upon which relief can be granted against

 Defendants.

                                 RESERVATION OF DEFENSES
          183.    To the extent not already pled, Defendants reserve the right to add additional

 defenses pending further investigation and discovery.

                                        COUNTERCLAIMS

          Defendant/Counterclaim Plaintiff Diva International Inc. (“Counterclaim Plaintiff” or

 “Diva”), for its counterclaim against ENG Sales LLC (“ENG Sales”), ENG Sales LLC d/b/a

 Stam Sales (“Stam Sales”), Eliezer Zimmerman, and Gitel Zimmerman (collectively

 “Counterclaim Defendants”), allege as follows:

                                          JURISDICTION

          1.      Diva seeks pecuniary and injunctive relief from the various acts of Counterclaim

 Defendants arising under the Trademark and Unfair Competition Laws of the United States, 15

 U.S.C. §§ 1051 et seq., under the laws of the State of New Jersey, and under state common law.

 Counterclaim Defendants’ illegal acts have irreparably harmed the goodwill and reputation of

 Diva, and have caused Diva significant damage.

          2.      The Court has original jurisdiction over the dispute pursuant to 15 U.S.C. § 1121,

 28 U.S.C. § 1331, and 28 U.S.C. § 1338(a), as these counterclaims arise under the Trademark

 Laws of the United States.


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          3.      The Court has supplemental jurisdiction over the state common-law claims under

 28 U.S.C. § 1367.

          4.      Venue for these counterclaims is proper under 28 U.S.C. §§ 1391(b) and 1400(b)

 in that Counterclaim Defendant ENG Sales purports to have a place of business in this judicial

 district.

                                            PARTIES
          5.      Counterclaim Plaintiff Diva is a corporation organized and existing under the

 laws of Ontario, Canada, having its principal place of business at 222 McIntyre Drive, Kitchener,

 Ontario, Canada N2R 1E8.

          6.      Upon information and belief, Counterclaim Defendant ENG Sales is a limited

 liability company organized and existing under the laws of the State of New Jersey, with a

 principal place of business at 12 Kielt Way, Lakewood, New Jersey 08701.

          7.      Upon information and belief, Counterclaim Defendant ENG Sales was and/or is

 doing business as “Stam Sales” on amazon.com.

          8.      Upon information and belief, Counterclaim Defendant Eliezer Zimmerman is an

 individual residing at 12 Kielt Way, Lakewood, New Jersey 08701. Upon information and

 belief, Counterclaim Defendant Eliezer Zimmerman may have used other names or aliases, such

 as “Eliazer” or “Eli.”

          9.      Upon information and belief, Counterclaim Defendant Eliezer Zimmerman is the

 owner of ENG Sales LLC.

          10.     Upon information and belief, Counterclaim Defendant Gitel Zimmerman is an

 individual residing at 12 Kielt Way, Lakewood, New Jersey 08701. Upon information and

 belief, Counterclaim Defendant Gitel Zimmerman may have used other names or aliases,

 including “Gitty” and “Gitty Berger.”

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                                            BACKGROUND
                             Counterclaim Plaintiff’s Trademark Rights
          11.     Diva is a producer and seller of high quality feminine hygiene products. Diva’s

 products have risen to such prominence that its feminine hygiene products sold under inter alia

 the trademarks (i) THE DIVACUP, (ii) DIVACUP, and (iii) DIVAWASH have become

 prominent and well-recognized brands in this very competitive market.

          12.     Francine Chambers and Carinne Chambers-Saini founded Diva’s predecessor

 company in 1989. This company was renamed Diva International Inc. in 2002. Since its

 formation, Diva has been developing, marketing, and distributing premium feminine hygiene

 products under the highly successful and internationally recognized DivaCup brand and

 associated trademarks.

          13.     Diva is the owner of all right, title, and interest in and to, inter alia, the following

 trademarks and United States trademark registrations (collectively the “Diva Marks”), which

 cover marks used on feminine hygiene products:

      Reg. No.       Trademark           Registered        First Used               Goods/Services
   4,768,469       THE DIVACUP       July 7, 2015       March 1, 2003      Latex free, reusable menstrual
                                                                           cup constructed of medical
                                                                           grade silicone that is worn
                                                                           inside the vagina to collect
                                                                           menstrual flow.
   5,809,938       DIVACUP           July 23, 2019      2003               Menstrual cups.
   3,128,783       DIVAWASH          August 15, 2006    January 14, 2005   Personal cleansing solution.

          14.     A copy of each registration certificate for the Diva Marks is attached hereto as

 Exhibit A.

          15.     The registrations for the Diva Marks are in full force and effect.

          16.     The Diva Marks are distinctive, have become well known to the trade and

 members of the purchasing public, and have established substantial goodwill such that the public

 associates and identifies products bearing such trademarks as coming from a single source.


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 Thus, even independent of Diva’s federal trademark registrations, Diva possesses extensive

 common-law trademark rights in the above marks.

          17.     Diva’s products are available to customers through many different retail outlets as

 well as online at Amazon.com, and have been widely distributed and sold throughout the United

 States. There is substantial public demand for products bearing the Diva Marks as evidenced by

 significant annual sales. As a result, the Diva Marks represent highly valuable goodwill and

 commercial property for Diva.

          18.     Among other retailers, Diva sells its products directly to Amazon in wholesale via

 Amazon’s Vendor Central, and ships directly to Amazon’s fulfillment centers. Diva does not

 sell its products directly to customers on Amazon’s platform. The products sold to Amazon

 include products referred to as The DivaCup “Model 0,” “Model 1,” “Model 2,” and

 “DivaWash.”

          19.     Diva has advertised its products bearing the Diva Marks through, inter alia,

 television, print, movies, YouTube,          Twitter, Facebook, and        Diva’s own      websites

 (www.divainternationl.ca, www.divacup.com).

          20.     Diva has also enjoyed substantial unsolicited publicity for its products, including

 a number of articles in magazines and periodicals, and as a recipient of several awards.

          21.     Genuine products bearing the Diva Marks have come to be known among the

 trade and consumers as products of the high quality, allowing Diva to achieve a significant niche

 in the fiercely competitive feminine hygiene market. As a result, the Diva Marks and the

 goodwill associated with these trademarks are of the highest value to Diva.

          22.     Genuine products bearing the Diva Marks are known among the trade and

 consumers as medical devices with FDA approval. In this regard, genuine products bearing the



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 Diva Marks must comply with various FDA regulations. For instance, genuine products bearing

 the Diva Marks must include manufacturing lot numbers as required by the FDA. Diva’s FDA

 compliance allows Diva to earn significant trust from the consumers.

          23.     Honoring the public’s confidence in the integrity and continuing quality of Diva’s

 products is essential to maintaining Diva’s goodwill, and its continuing and increasing sales of

 such products. As a result, Diva has established and maintains the highest standards of quality to

 ensure that the products associated with the Diva Marks will be identified by purchasers as high

 quality products sold, sponsored, or authorized by Diva.

                           Counterclaim Defendants’ Wrongful Conduct
          24.     Upon information and belief, long after Diva’s adoption and use of its Diva Marks

 to identify its goods, and after Diva had obtained federal trademark registrations for the Diva

 Marks, Counterclaim Defendants began distributing, advertising, offering for sale, or selling

 counterfeit and infringing products bearing Diva’s Marks. Some of the products include close

 reproductions of the registered Diva Marks and the trade dress and designs. All designs, colors,

 materials, and other elements of the appearance of Diva products have been copied as closely as

 possible to provide the appearance that the Counterclaim Defendants’ copies are genuine Diva

 products.

          25.     Counterclaim Defendants have caused these counterfeit and infringing products to

 enter into commerce or to be transported or used in commerce. Counterclaim Defendants are not

 licensed by Diva, and at all relevant times, was not authorized by Diva or any authorized agent

 of Diva to distribute, advertise, offer for sale, or sell such items. Counterclaim Defendants are

 currently engaged in such activities, and upon information and belief, unless enjoined by this

 Court, will continue such activities.



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          26.     Upon information and belief, Counterclaim Defendants and/or one or more

 affiliated business entities have been offering for sale and/or selling counterfeit and infringing

 products bearing Diva’s Marks through www.amazon.com under the seller names “Stam Sales”

 and “gitel zimmerman,” and/or under other assumed or fictitious names.

          27.     Before August 14, 2019, Diva had never heard of, communicated with, or

 submitted any complaint against Counterclaim Defendant ENG Sales through Amazon.com or

 elsewhere. Diva later learned, at least in part due to ENG Sales’ complaint filed in this Court,

 that ENG Sales might have been doing business as “Stam Sales,” “gitel zimmerman,” and/or

 other assumed or fictitious names.

          28.     Upon information and belief, Counterclaim Defendant ENG Sales does not

 maintain a seller’s account, a storefront, or other presence on Amazon.

          29.     Upon information and belief, Stam Sales maintains a storefront on Amazon,

 which does not mention ENG Sales. Stam Sales’ storefront does not include Diva’s name and/or

 DivaCup product listings, despite being an active seller of DivaCup Products.

          30.     Over the past year, Diva has experienced a significant increase in customer

 complaints, health-related inquiries, and negative reviews on Amazon regarding counterfeit

 and/or faulty DivaCup products.

          31.     Due to the increased customer complaints, over the past year Diva has made

 several test purchases of products bearing the DivaCup Marks on Amazon. The purchased

 products included both The DivaCup Model 1 and The DivaCup Model 2 products.                  The

 purchased products were tested and confirmed to be counterfeits of the DivaCup Products. The

 confirmed counterfeits were listed under various seller names, including “Stam Sales” and “gitel

 zimmerman.”



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          32.     Over the past year, Diva has made several complaints to Amazon about these

 confirmed counterfeits of the DivaCup Products.

          33.     For example, on or about October 7, 2018, Diva submitted a complaint to

 Amazon regarding purchased DivaCup Products that were confirmed to be counterfeits. Upon

 information and belief, in response to the complaint from Diva and from other consumers,

 Amazon removed a number of unauthorized sellers from the listings of DivaCup Products. Upon

 information and belief, the unauthorized sellers removed by Amazon included Stam Sales.

          34.     On or about October 11, 2018, Stam Sales, through its counsel, contacted Diva,

 and provided photographs purporting to be Stam Sales’ inventory of DivaCup Products. Based

 on this, Diva asked Amazon to reinstate Stam Sales.

          35.     On or about September 19, 2019, in response to a request for seller contact

 information, Amazon provided a list of sellers related to one of Diva’s complaints regarding

 counterfeit DivaCup Products. This list of sellers included “gitel zimmerman,” with the same

 address of 12 Kielt Way, Lakewood, New Jersey, 08701 as Counterclaim Defendant ENG Sales.

          36.     Over the past year, Diva has also discovered unauthorized and duplicative listings

 of DivaCup Products on Amazon. Some of these unauthorized and duplicative listings bear the

 DivaCup marks, but were created under other brand names.              In addition, some of these

 unauthorized and duplicative listings identify DivaCup Products by incorrect ASINs. These

 unauthorized and duplicative listings of DivaCup Products were created under various seller

 names, including “Stam Sales” and “gitel zimmerman.”

          37.     Upon information and belief, Defendant Eliezer Zimmerman and/or one or more

 affiliated business entities have been offering for sale and/or selling counterfeit and infringing




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 products bearing Diva Marks through amazon.com under the seller name “Stam Sales,” “gitel

 zimmerman,” and/or under other assumed or fictitious names.

           38.    Upon information and belief, Defendant Gitel Zimmerman and/or one or more

 affiliated business entities have been offering for sale and/or selling counterfeit and infringing

 products bearing Diva Marks through amazon.com under the seller name “Stam Sales,” “gitel

 zimmerman,” and/or under other assumed or fictitious names.

                                  FIRST COUNTERCLAIM
                   Trademark Infringement In Violation Of 15 U.S.C. § 1114(1)

           39.    Diva reasserts the preceding allegations in paragraphs 1-38 as if fully set forth

 herein.

           40.    Counterclaim Defendants’ distributing, advertising, offering for sale, selling, or

 other use of the Diva Marks or any products bearing the Diva Marks has caused and is likely to

 continue to cause confusion, to cause mistake, or to deceive, in violation of Section 32(1) of the

 Lanham Act (15 U.S.C. § 1114(1)).

           41.    Upon information and belief, the activities of the Counterclaim Defendants in

 selling such counterfeit and infringing merchandise has been done with the express intention of

 confusing, misleading, and deceiving purchasers and members of the public into believing they

 are purchasing genuine Diva products. Counterclaim Defendants’ activities were commenced

 and have continued in spite of the Counterclaim Defendants’ knowledge that the use of any of

 Diva’s trademarks, or any reproductions, counterfeits, copies, or colorable imitations of such

 trademarks, is in violation of Diva’s rights. The aforesaid acts of Counterclaim Defendants were

 committed willfully, knowingly, maliciously, and in conscious disregard of their legal

 obligations to Diva.




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           42.    Diva has no adequate remedy at law. Counterclaim Defendants’ conduct has

 caused, and if not enjoined, will continue to cause immediate and irreparable damage to Diva’s

 trademark rights, business, reputation, and goodwill in a manner that cannot be adequately

 calculated or compensated in money damages alone.

                                  SECOND COUNTERCLAIM
                             False Designation Of Origin And Unfair
                          Competition In Violation Of 15 U.S.C. § 1125(a)

           43.    Diva reasserts the preceding allegations in paragraphs 1-38 as if fully set forth

 herein.

           44.    Counterclaim Defendants’ distributing, advertising, offering for sale, selling, or

 other use of the Diva Marks or any products bearing the Diva Marks constitutes false

 designations of origin, which have caused and are likely to continue to cause confusion, or to

 cause mistake, or to deceive as to the affiliation, connection, or association of the Counterclaim

 Defendants with Diva, or as to the origin, sponsorship, or approval of the Counterclaim

 Defendants’ products by Diva, in violation of Section 43(a) of the Lanham Act (15 U.S.C.

 § 1125(a).

           45.    Upon information and belief, the activities of the Counterclaim Defendants in

 selling such counterfeit and infringing merchandise has been done with the express intention of

 confusing, misleading, and deceiving purchasers and members of the public into believing they

 are purchasing genuine Diva products. Counterclaim Defendants’ activities were commenced

 and have continued in spite of the Counterclaim Defendants’ knowledge that the use of any of

 Diva’s trademarks, or any reproductions, counterfeits, copies, or colorable imitations of such

 trademarks, is in violation of Diva’s rights. The aforesaid acts of Counterclaim Defendants were

 committed willfully, knowingly, maliciously, and in conscious disregard of their legal

 obligations to Diva.

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          46.     Diva has no adequate remedy at law. Counterclaim Defendants’ conduct has

 caused, and if not enjoined, will continue to cause immediate and irreparable damage to Diva’s

 trademark rights, business, reputation, and goodwill in a manner that cannot be adequately

 calculated or compensated in money damages alone.

                               THIRD COUNTERCLAIM
                  Common Law Trademark Infringement & Unfair Competition

          47.     Diva reasserts the preceding allegations in paragraphs 1-38 as if fully set forth

  herein.

          48.     By virtue of extensive and substantially exclusive use of the Diva Marks, Diva is

  the owner of such distinctive trademarks at common law.

          49.     Counterclaim Defendants’ counterfeit products contain counterfeits and imitations

  of Diva’s common-law trademarks. Such unauthorized use by the Counterclaim Defendants has

  caused and is likely to continue to cause confusion and mistake in the minds of the trade and

  purchasing public as to the source of the Counterclaim Defendants’ products and to cause the

  purchasing public to believe that such products are authentic products of Diva when, in fact,

  they are not.

          50.     Counterclaim Defendants are improperly trading upon the reputation and

  goodwill of Diva and are impairing the distinctiveness of Diva’s valuable rights in and to such

  trademarks.

          51.     The aforesaid acts of the Counterclaim Defendants constitute unfair competition

  and unfair business practices contrary to the common law of the State of New Jersey.

          52.     The aforesaid acts of the Counterclaim Defendants have been continuous and

  deliberate, and were committed willfully, knowingly, maliciously, in bad faith, and in conscious

  disregard of Diva’s rights.


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           53.    The aforesaid acts of the Counterclaim Defendants have caused Diva to suffer

  direct financial loss in the form of lost sales and lost profits in an amount to be determined at

  the time of trial.

           54.    Diva has no adequate remedy at law. Counterclaim Defendants’ conduct has

  caused, and if not enjoined, will continue to cause immediate and irreparable damage to Diva’s

  trademark rights, business, reputation, and goodwill in a manner that cannot be adequately

  calculated or compensated in money damages alone.

                                 FOURTH CLAIM FOR RELIEF
                  Trafficking In Counterfeit Marks Under N.J.S.A. §§ 56:3-13.16
           55.    Diva reasserts the preceding allegations in paragraphs 1-38 as if fully set forth

 herein.

           56.    The aforesaid acts of Counterclaim Defendants constitute the trafficking or

 attempt to traffic in counterfeit marks or goods identified by counterfeit marks in the commerce

 of the State of New Jersey, which is likely to cause confusion or mistake or to deceive, or to

 assist in causing confusion or mistake or to deceive, directly or indirectly, another person in

 violation of N.J.S.A. §§ 56:3-13.16.

           57.    Diva has no adequate remedy at law. Counterclaim Defendants’ conduct has

 caused, and if not enjoined, will continue to cause immediate and irreparable damage to Diva’s

 trademark rights, business, reputation, and goodwill in a manner that cannot be adequately

 calculated or compensated in money damages alone.




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                                  FIFTH CLAIM FOR RELIEF
                            Unfair Competition Under N.J.S.A. § 56:4-1
           58.    Diva reasserts the preceding allegations in paragraphs 1-38 as if fully set forth

 herein.

           59.    Despite the public recognition of the Diva Marks, Counterclaim Defendants

 traded on the goodwill associated with such trademarks.

           60.    The counterfeit and infringing products distributed, sold, or offered for sale by

 Counterclaim Defendants do not utilize the same high quality standards as authentic Diva goods,

 and are likely to cause damage to Diva by tarnishing the valuable goodwill associated with such

 products.

           61.    Counterclaim Defendants have appropriated for their own use a name, brand,

 trademark, reputation, or goodwill of Diva in whose products Counterclaim Defendants deal, in

 violation of N.J.S.A. § 56:4-1.

           62.    Diva has no adequate remedy at law. Counterclaim Defendants’ conduct has

 caused, and if not enjoined, will continue to cause immediate and irreparable damage to Diva’s

 trademark rights, business, reputation, and goodwill in a manner that cannot be adequately

 calculated or compensated in money damages alone.

                                      PRAYER FOR RELIEF
           WHEREFORE, Plaintiff ENG Sale’s complaint should be dismissed with prejudice, all

 relief requested by Plaintiff ENG Sales should be denied, and the Court should enter judgment in

 Defendants Diva, CoGo, and Ruyan’s favor, including the following:

           1.     Dismissal of Plaintiff ENG Sales’ complaint with prejudice;

           2.     A temporary, preliminary, and permanent injunction restraining the Counterclaim

 Defendants and its officers, agents, servants, employees, attorneys, privies, subsidiaries,



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 divisions, successors, and assigns, and all persons and organizations in active concert,

 participation, or combination with any of the foregoing, from:

          a.      Directly or indirectly infringing Diva’s registered or common-law trademarks in

                  any manner, including but not limited to, manufacturing, distributing, advertising,

                  selling, or offering for sale any products that infringe such trademarks or trade

                  dress, and specifically:

                               i. using the Diva Marks or any reproduction, counterfeit, copy, or

                        colorable imitation of such mark in connection with the manufacture,

                        distribution, advertising, display, marketing, sale, offering for sale, or other

                        use of any feminine hygiene product; and

                              ii. using any trade dress, packaging design, or labeling which is a

                        reproduction, counterfeit, copy, or colorable imitation of Diva’s trade dress

                        for its products in connection with the manufacture, distribution,

                        advertising, display, marketing, sale, offering for sale, or other use of any

                        feminine hygiene product;

          b.      Using any word, term, name, symbol, or device, or any combination thereof, on

                  any product or its packaging or using any false designation of origin, false, or

                  misleading description of fact, or false or misleading representation of fact, which

                  is likely to cause confusion, or to cause mistake or to deceive as to the affiliation,

                  connection, or association of Counterclaim Defendants with Diva or as to the

                  origin, sponsorship, or approval of Counterclaim Defendants’ goods by Diva.

          c.      Engaging in any conduct that tends falsely to represent that, or is likely to

                  confuse, mislead, or deceive purchasers, Counterclaim Defendants’ customers or



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                  members of the public to believe that, the actions of the Counterclaim Defendants

                  or the Counterclaim Defendants themselves are connected with Diva or are

                  sponsored, approved, or licensed by Diva or are in some way connected or

                  affiliated with Diva.

          d.      Infringing the trademarks of Diva and damaging Diva’s goodwill, reputation, and

                  business.

          e.      Destroying or otherwise disposing of:

                        i.       Products or parts of products not from Diva bearing the Diva

                                 Marks;

                       ii.       Products or parts of products not from Diva, which copy any

                                 distinctive component of the trade dress for Diva’s products,

                                 including boxes, bottles, jars, caps, and other packaging

                                 components designed to be used for such products;

                      iii.       Any products or parts of products obtained from Diva or its

                                 affiliates, including those obtained from any of Diva’s contracted

                                 warehouses, distributors, returns processors, or authorized

                                 retailers;

                       iv.       Any other products that reproduce, copy, counterfeit, imitate, or

                                 bear any of Diva’s trademarks, trade names, logos, or designs;

                       v.        Any promotional and advertising materials, labels, packages,

                                 wrappers, bottles, cartons, containers, and any other unauthorized

                                 item that reproduces, copies, counterfeits, imitates, or bears any of

                                 Diva’s trademarks, trade names, logos, designs, or trade dress;



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                       vi.        Any machinery used for making and manufacturing the counterfeit

                                  products bearing the Diva Marks, other trademarks, trade names,

                                  logos, designs, or trade dress for such products; and

                      vii.        Any sales and supplier or customer journals, ledgers, invoices,

                                  purchase orders, inventory control documents, bank records,

                                  catalogs, recordings of any type whatsoever, and all other business

                                  records and documents believed to concern the manufacture,

                                  purchase, advertising, sale, or offering for sale of such products.

          f.      Communicating, directly or indirectly, with any person or persons from whom the

                  Counterclaim Defendants purchased or to whom they sold products or parts or

                  components for such products bearing Diva’s trademarks or to persons who they

                  know possess or control or have access to such products or with any other person

                  or persons (except for their attorneys) about this action or Diva’s request for this

                  Order.

          3.      An Order that all labels, signs, prints, packages, wrappers, receptacles, and

 advertisements, having,        showing, or employing any mark or design enjoined in

 paragraphs 1.a.i-ii above, and all plates, molds, matrices, and other means for making the same

 shall be delivered up to Diva and destroyed;

          4.      An Order that the Diva or its designees or both be authorized to seize the

 following items, which are in Counterclaim Defendants’ possession, custody, or control:

                  a        All products bearing the Diva Marks;

                  b        Any other products that reproduce, copy, counterfeit, imitate, or bear any

                           of Diva’s trademarks, trade names, logos, designs, or trade dress;



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                  c      Any promotional or advertising materials, labels, packages, wrappers,

                         containers, and any other items that reproduce, copy, counterfeit, imitate,

                         or bear the aforesaid trademarks, trade names, logos, designs, or trade

                         dress;

                  d      Any machinery used for making or manufacturing such infringing

                         products or items or packaging for such products bearing Diva’s

                         trademarks, trade names, logos, designs, and trade dress;

                  e      Any sales and supplier or customer journals, ledgers, invoices, purchase

                         orders, inventory control documents, bank records, catalogs, recordings of

                         any type whatsoever, and any other business records and documents

                         believed to concern the manufacture, distribution, purchase, advertising,

                         sale, or offering for sale of such products.

          5.      A recovery of compensatory damages and an increase in such award under 15

 U.S.C. § 1117.

          6.      An award of statutory damages under 15 U.S.C. § 1117(c).

          7.      An accounting of the Counterclaim Defendants’ profits realized in connection

 with the sale of counterfeit or infringing products, and an award in such amount to the Diva.

          8.      An award to Diva of exemplary damages.

          9.      An award to Counterclaim Plaintiffs Diva, CoGo, and Ruyan of their reasonable

 attorneys’ fees and costs of the action.

          10.     Such other and further relief as the Court may deem just and necessary.




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                                  DEMAND FOR TRIAL BY JURY
          Pursuant to Fed. R. Civ. P. 38(b), Defendants/Counterclaim Plaintiffs hereby demand a

 trial by a jury on all issues so triable.

                                             Respectfully submitted,

                                             LERNER, DAVID, LITTENBERG,
                                              KRUMHOLZ & MENTLIK, LLP
                                             Attorneys for Defendants Mary Ruyan, LLC d/b/a
                                             CoGo Inc., Mary Allison Ruyan, Diva International
                                             Inc.

 Dated:           October 11, 2019           By:    s/ Gregg A. Paradise
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